      Case 4:21-cv-03043 Document 1-1 Filed on 09/20/21 in TXSD Page 1 of 15




                                       UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

ROGER FOUNTAIN                                                            §
                                                                          §
          Plaintiff,                                                      §
                                                                          §
v.                                                                        §          Case No. 4:21-cv-3043
                                                                          §
US STANDARD PRODUCTS CORP.                                                §
                                                                          §
          Defendant.                                                      §

             DEFENDANT US STANDARD PRODUCTS CORP'S EXHIBIT INDEX

Plaintiff's Original Petition and Citation .........................................................................................1

Defendant’s Original Answer and Affirmative Defenses ................................................................2

State Court Docket Sheet .................................................................................................................3




DEFENDANT US STANDARD PRODUCTS CORP'S EXHIBIT INDEX
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Citation - Small Claims Money Damages                                                                   Tracking Number: L0372496

                                                Case Number: 215200242158

Roger Fountain                                                                              In the Justice Court
Plaintiff                                                                                   Harris County, Texas
VS.                                                                                         Precinct 5, Place 2
US Standard Products Corp                                                                   16715 Clay Road
Defendant                                                                                   Suite 3
                                                                                            Houston, TX 77084
                                                                                            713-274-0800
                                                                                            www.jp.hctx.net

                                                 Citation (Small Claims Case)
THE STATE OF TEXAS
COUNTY OF HARRIS

TO: ANY SHERIFF, CONSTABLE, PROCESS SERVER CERTIFIED UNDER ORDER OF THE SUPREME COURT,
OTHER PERSON AUTHORIZED BY COURT ORDER, OR CLERK:

Deliver this citation, together with a copy of the petition, to: Lauren Pierce

US Standard Products Corp
6510 NW 21st Avenue
Ft Lauderdale, FL 33309

TO THE DEFENDANT:
You have been sued. You are commanded to appear by filing a written answer to the petition filed by Plaintiff with
the Clerk of the Court on or before the end of the 14th day after the date of service of this citation. If you fail to file
an answer as required, a judgment by default may be rendered for the relief demanded in the petition.

Date Petition Filed: 08/24/2021

Nature of demand made by Plaintiff(s): money owed in the amount of $20,000.00. A copy of the petition is attached.

                                                       Notice
You have been sued. You may employ an attorney to help you in defending against this lawsuit. But you are not
required to employ an attorney. You or your attorney must file an answer with the court. Your answer is due by
the end of the 14th day after the day you were served with these papers. If the 14th day is a Saturday, Sunday, or
legal holiday, your answer is due by the end of the first day following the 14th day that is not a Saturday, Sunday,
or legal holiday. Do not ignore these papers. If you do not file an answer by the due date, a default judgment may
be taken against you. For further information, consult the Texas Rules of Civil Procedure, Part V, Rules of
Practice in Justice Courts. A copy of the Rules is available at http://www.ip.hctx.net/ or at the Justice Court.



Date: 8/24/2021                                        ..........      /s/ Ana Gallo
                                                 •••        .         Clerk of the Court
                                                                •
                                                                      Harris County Justice Court
                                                                      Precinct 5, Place 2
                                                   .........
                                               ~4RSQbunT•




Address of Plaintiff                                                  Address of Plaintiff's Attorney

8524 HVVY 6 N Suite 419
Houston TX 77095




                                                                    Page 1 of 1                                      Revised: 06/09/2016
 JUIP4
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Small Claims Petition
                                                                 NO.                          c;)   ,1/

       c-)G               FoLAN-7--Ani,                                      §     In the Justice Court of Harris County, Texas
                                                                                   Precinct                    Place
Plaintiffs)
vs.
               577)-sivzmied               Pi2o6licTs"
      Cc)a
Defendant(s)
Plaintiff:          nGE-ie—                  "iv r/9 1/v                                                                AUG ,,
Describe the legal nature of the plaintiff (e-g, individual, sole proprietorship, partnership,
                                                                                               corporatiz)41c7.0.1fe f_irt
                p", 1) v I t/4-
Defendant:                     C7"/"-A,   19/MD             P Ao 6 u c/               5-          Co kr     )
Address:          Li/          Ho 4 -/F—c
City:                                                              State: A--/        Zip: 0 7k            )             Birth op/pp/waive):
                                                                                                                 Date of B--                   7,4
Describe the legal nature of the defendant (e.g., individual, sole proprietorship, partnership, corporation)
                         co e Po 12            77o,"- }

*Defendant may be served by serving                u /2.1-;                               k_
 (state the name of the defendant if defendant is an individual, or state the name and title of the person who is authorized to receive service ofprocess
for the defendant if defendant is a partnership, limited partnership, corporation, or limited liability company), who may be served at
                                                                                                                                               f
.       5I o         Ai  t&.) ,2 ST - fruig.
 (state the addressfor service of process).
                                                              ^ FT_ LA.JD£R..D                                  R.             333 0cj
 The defendant's usual place of business or rsskilence, or other place where defendant can probably be found is          14/        /foitiEcfr
      FN   G,             ec6           /V- ) •          6          3 1
 Cause of Action
 (State the cause of action in plain and concise language, sufficient to give fair notice of the claim and to provide enough information to enable the
 defendant to prepare a defense. You may include information showing venue is proper in the Justice of the Peace Precinct in which you are filing. If
 you are seeking personal property, you must describe the property and state the value of the property.)
                  fal-T( ,t)                   F       %4$             e 4            fcl2                 Pito                    '11-4(
                                                        S.




    Relief Requested (Describe the relief you are requesting, itemizing the amount of damages you are seeking.)
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                                                                                                        ;_19                           f --(tx'a A L L711v



    Respectfull            e


    Signature of Plaintiff or Plaintiff's Attorney of Record
                                                                                 Printed Name: 7c)C
                                                                                 State Bar No.
                                                                                                                 fele          -     (A.A, Ti9 /,,i

    Address:      se5. a LI                                                      w9                       /4 LA sre ro                         7709S
    Telephone:          9 .7   a'rs Si 0 - 14/ i 6 9                      Fax Number:
    E-Mail Address:            rc..:Ve ‘..1. I.\ • t k'l )         ) k tie   • c6 rt          \
( fkPlaintiff consents to the e-mail service of the answer and any other motions or pleadings to this e-mail address.
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                                   CAUSE NO. 215200242158

ROGER FOUNTAIN,                                     IN THE JUSTICE OF THE
                                                    PEACE COURT
               Plaintiff,

       v.                                           PRECINCT 5, PLACE 2

US STANDARD PRODUCTS CORP.,

               Defendant.                           HARRIS COUNTY, TEXAS




                  DEFENDANT US STANDARD PRODUCTS CORP.’S
                 ORIGINAL ANSWER AND AFFIRMATIVE DEFENSES

       Defendant Standard Products Corp. (“Defendant”), files this Original Answer and

Affirmative Defenses to the claims asserted by Plaintiff Roger Fountain in his Small Claims

Petition, and would show as follows:

                                             I.
                                       GENERAL DENIAL

       1.      Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant hereby

asserts a general denial to all of the material allegations contained in Plaintiff’s Small Claims

Petition and demands strict proof thereof.

                                          II.
                                 AFFIRMATIVE DEFENSES

       Defendant raises the following affirmative defenses, but reserves the right to amend its

Answer to raise any additional affirmative defenses which it may have against Plaintiff’s claims:

       2.      Plaintiff lacks standing to bring the claims that he is purportedly asserting.

       3.      The Complaint fails to state a claim upon which relief may be granted.

       4.      Plaintiff has not suffered a concrete and particularized injury.


DEFENDANT US STANDARD PRODUCTS CORP.’S ORIGINAL ANSWER AND AFFIRMATIVE
DEFENSES – Page 1
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          5.    To the extent that Plaintiff received the subject text message(s) and/or telephone

call(s) alleged in the Complaint, prior express consent, as well as prior express written consent,

was obtained for the purpose of contacting the phone number at which Plaintiff alleges to have

received the subject text message(s) and/or telephone call(s) and therefore, Plaintiff’s claims must

fail.

          6.    Defendant incorporates by reference all provisions set forth within 47 U.S.C. § 227

and 47 C.F.R. § 64.1200 (including prior versions of this statute and regulation) and relies herein

on any safe harbor provisions, exemptions, exceptions, limitations, conditions, or other defenses

that may be set forth herein.

          7.    Defendant states that it has complied with all applicable statutes and regulations,

thereby barring any and all of Plaintiff’s claims.

          8.    Plaintiff’s claims are barred by the doctrines of estoppel, waiver, consent, and other

equitable doctrines.

          9.    Plaintiff’s claims barred because any alleged acts or omissions of Defendant giving

rise to the alleged claims were the result of an innocent mistake and/or bona fide error

notwithstanding that Defendant established and implemented reasonable practices and procedures

to effectively prevent telephone solicitations in alleged violation of the regulations prescribed by

47 U.S.C. § 227. Defendant acted at all times in a reasonable manner in connection with the events

at issue in this case.

          10.   To the extent that Plaintiff received the subject text message(s) and/or telephone

call(s) alleged in the Complaint, an automatic telephone dialing system as that term is defined by

47 U.S.C. § 227, the implementing regulations promulgated thereunder, the Federal




DEFENDANT US STANDARD PRODUCTS CORP.’S ORIGINAL ANSWER AND AFFIRMATIVE
DEFENSES – Page 2
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Communications Commission’s rulings and/or decisional law interpreting same was not used to

place the subject text messages.

       11.     Application of the TCPA, as interpreted by the FCC, violates the First Amendment

to the United States Constitution because such application relies upon content-based restrictions

of protected speech. See Reed v. Town of Gilbert, 135 S. Ct. 2218, 2227 (2015) (“Government

regulation of speech is content-based if a law applies to particular speech because of the topic

discussed or the idea or message expressed.”).

       12.     The TCPA violates the First Amendment to the United States Constitution because

it is an unconstitutional regulation of free speech. See Martin v City of Struthers, Ohio, 319 U.S.

141 (1943).

       13.     Any loss, injury, or damage incurred by Plaintiff was proximately caused by the

acts of third parties whom Defendant neither controlled nor had the right to control, and was not

proximately caused by any acts, omissions or other conduct of Defendant.

       14.     Plaintiff’s claims are barred by laches.

       15.     Any loss, injury, or damage incurred by Plaintiff was caused by independent

contractors for whose actions Defendant is not liable.

       16.     Plaintiff has failed to join all necessary and/or indispensable parties to this action.

       17.     Plaintiff has not suffered any damages due to Defendant’s alleged actions. Plaintiff

must sustain an injury in fact specific to each individual text message for which Plaintiff claims a

violation.

       18.     This Court lacks personal jurisdiction over Defendant.




DEFENDANT US STANDARD PRODUCTS CORP.’S ORIGINAL ANSWER AND AFFIRMATIVE
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                                               III.
                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant further respectfully requests

that Plaintiff take nothing and that all costs of court be taxed against Plaintiff. Defendant further

requests all such other and further relief to which it may show itself justly entitled.



Date: September 10, 2021                       Respectfully submitted,



                                                /s/ C. Bryce Benson
                                               C. Bryce Benson
                                               Texas Bar No. 24031736
                                               bryce.benson@akerman.com
                                               Michael B. Hess
                                               Texas Bar No. 24095710
                                               michael.hess@akerman.com
                                               AKERMAN LLP
                                               2001 Ross Avenue, Suite 3600
                                               Dallas, Texas 75201
                                               Telephone: 214.720.4300
                                               Facsimile: 214.981.9339

                                               ATTORNEYS FOR DEFENDANT
                                               US STANDARD PRODUCTS CORP.




DEFENDANT US STANDARD PRODUCTS CORP.’S ORIGINAL ANSWER AND AFFIRMATIVE
DEFENSES – Page 4
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on September 10, 2021, a true and correct copy of
the foregoing document was served, in accordance with the Texas Rules of Civil Procedure, on all
counsel of record.



                                                /s/ Michael B. Hess
                                               Michael B. Hess




DEFENDANT US STANDARD PRODUCTS CORP.’S ORIGINAL ANSWER AND AFFIRMATIVE
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                   Justice of the Peace Courts
                   Case Information

Case Summary for 215200242158 as of September 17, 2021 11:06:20 AM :



 General Case Information
  Case Number:            215200242158
  Court Info:             Click here to visit court web site.
  Style of Case:          Roger Fountain vs. US Standard Products Corp
  Filed Date:             August 24, 2021
  Days Old:               24
  Case Status:            Active
  Disposition:
  Disposition Date:
  Judgment Date:




 Civil Information
  Nature of Claim:        Small Claims
  Claim Amount:           $20,000.00
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Party Information

Party Name:            Fountain, Roger
Party Type:            Plaintiff

Party Name:            US Standard Products Corp
Party Type:            Defendant




Hearing Information
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Payment Information

Payment Date:          August 24, 2021
Amount:                $49.00
Payment Type:          Cash
Transaction Type:      Payment
Receipt Description:   Payment
Payor Name:            Fountain, Roger
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 Event Information

  Event Description:           Citation
  Date Added:                  August 24, 2021

  Event Description:          Original Petition Filed
  Date Added:                 August 24, 2021

  Event Description:           Small Claims-Citation Money Damages
  Date Added:                  August 24, 2021

  Event Description:          Notice
  Date Added:                 September 08, 2021

  Event Description:           Answer Filed
  Date Added:                  September 10, 2021




 Bond Information




 Judgment Information




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